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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

  TQ Delta, LLC,
               Plaintiff,

  v.                                         Civil Action No.: 2:21-CV-00310-JRG

  CommScope Holding Company, Inc., et al.,   JURY TRIAL DEMANDED
             Defendants.




          TQ DELTA, LLC’S RESPONSE TO COMMSCOPE’S MOTION TO
         EXCLUDE PORTIONS OF THE EXPERT TESTIMONY OF JONATHAN
       PUTNAM AND TODOR COOKLEV UNDER FED R. EVID. 702 AND DAUBERT
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 I.       INTRODUCTION AND SUMMARY

          TQD Delta, LLC (“TQD”) hereby responds to CommScope Holding Company, et. al.

 (“CommScope” or “CS”)’s Motion to Exclude Portions of the Expert Testimony of Jonathan

 Putnam and Todor Cooklev Under Fed. R. Evid. 702 and Daubert (Dkt. No. 344). This is a

 straightforward issue about one paragraph in Dr. Cooklev’s report that CommScope does its best

 to confuse.

          Dr. Cooklev, using decades of experience with the relevant technology, standards, and

 patents, created, at the request of Dr. Putnam, a list of 360 terms found in Derwent World Patents

 Index (“DWPI”) classifications that he considered, in his expert judgment, were less likely to be

 in the independent claims of a relevant standard-essential patent (“SEP”). This is well within his

 expertise, which CS does not challenge, and the term-list is disclosed in his report. And the entire

 statistical process used by Drs. Cooklev and Putnam, of which the terms are just one part, is also

 disclosed, allowing replication and testing. Despite this detail, CS offers no specific challenge to

 the statistical methodology or to any paragraph in Dr. Putnam’s report. It, at best, only criticizes

 about 13 of 360 terms used to prioritize relevant patents for review (not eliminate patents from

 review), suggesting the possibility of error without actually showing any. This is an issue for cross

 examination, and CS’s Motion should be denied for the following 6 reasons:

      1. CommScope offers only its attorneys’ say so that there is an issue with the paragraphs of

         Dr. Cooklev’s and Dr. Putnam’s reports that the Motion seeks to strike. None of CS’s

         experts make the claims found in the Motion, and no declaration or citation to any other

         expert is included in the Motion. Both Drs. Putnam and Cooklev were deposed on the

         sections of their reports at issue (a fact CommScope’s Motion omits) and CS offers no

         criticism of their explanations. CS just provides its attorneys’ ipse dixit there is an issue.




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   2. Two of CS’s experts did consider and address these opinions (another fact the Motion

      omits), but neither expert raises the argument put forward by the Motion—that the “keyword

      terms” used to prioritize patents for consideration (but not remove any from consideration)

      were improper or might have caused some error. Their reports offer no criticism on this

      issue. First, CS’s damages expert Dr. Stephen Becker considered Dr. Putnam’s sampling

      methodology, but the closest he comes to criticism is a neutral reference to another expert’s

      comments: “Dr. Ransom provides comments on the methodology employed by Dr. Cooklev

      in his search for DSL SEPs.” See Nov. 18, 2022 Expert report of Stephen L. Becker, Ph.D.

      (“Becker Rep.”), Exh. 01 at ¶ 343. Dr. Ransom, in turn, provides one page of analysis. See

      Nov. 18, 2022 Responsive Expert Report of Dr. Neil Ransom on Non-Infringement of the

      Family 2, 3, 6, 9A and 9B Patents (“Ransom Rep.”), Exh. 02 at ¶¶ 401-405. But Dr. Ransom

      provides no criticism on Dr. Cooklev’s keywords or any criticism (or even any mention) of

      any part of Dr. Putnam’s report. See id. Essentially, Dr. Ransom only speculates that there

      may be more standard-essential patents, but, as he admits in his deposition, he performs no

      actual analysis himself. See id. At most, he suggests that Dr. Cooklev should have used a

      larger starting pool than “DSL” patents (See Ransom Rep., ¶ 404), a point the Motion makes

      no mention of.

   3. CommScope offers no specific argument that Dr. Putnam’s statistical sampling

      methodology—the substantive issue—is unreliable, was based on insufficient data, or

      would have produced a different result if other terms had been used, and again, no expert

      takes those positions. Stepping back, Dr. Putnam used Dr. Cooklev’s keywords in a

      statistical sampling process for 14,838 patents. Basically, the patents were separated into 3

      buckets—but all buckets were sampled from, including buckets with keywords in the claims




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      (yet another fact the Motion omits). This process produced a set of 1,100 patents that

      Dr. Cooklev reviewed patent-by-patent. Dr. Putnam then used the results of Dr. Cooklev’s

      review of these 1,100 patents to determine the total number of essential patents in the overall

      set, and, again, CS’s Motion does not take issue with this methodology or its statistical

      reliability, though it seeks to exclude it in full.

   4. CommScope offers no argument on any specific paragraph in Dr. Putnam’s report, despite

      moving to strike both his entire methodology and his separate analysis on other damages

      issues. The failure to identify any actual issue in his methodology should be dispositive.

      But the scope of the paragraphs CS moves to exclude shows its real intent is striking

      Dr. Putnam’s report. His creation of the statistical sample is discussed in four paragraphs:

      ¶¶ 371-374. But CS also moves to strike his opinions on patent quality (¶¶ 376-379); his

      opinions on whether his analysis from 2018 needed to be updated (¶¶ 380-382), including

      discussions of DSL standards and his assessment of the number of new likely essential

      patent families; his calculation of damages (¶383); his assessment related to “TQD’s

      licenses and offer” (¶¶ 384-387); his assessment of pre-2015 sales and convoyed sales

      (¶¶ 386-390); his assessment of non-infringing alternatives (¶¶ 391-394); and his

      assessment of the value of the standard as a whole (¶¶ 395-398).

   5. Drs. Putnam and Cooklev also offered similar opinions in the TQ Delta, LLC v. 2Wire, Inc.,

      No. 1:13-cv-1835-RGA (D. Del. filed Nov. 4, 2013) (“DE Case”) in 2018. Despite having

      the details of their analysis for 4 years, CommScope identifies no substantive flaw in the

      sampling methodology. The expert reports in both cases explain and provide the material

      details of the analysis performed, including providing lists of specific patents considered

      (e.g., the 1,100 specific patents sampled from 14,848 patents; the 132 patents Dr. Cooklev




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          identified for close analysis; and the 33 patents he found essential from the set). In other

          words, CS can recreate the analysis. But the Motion makes no criticism of the patent-data

          sources, the sampling (other than using Dr. Cooklev’s terms), Dr. Cooklev’s analysis of the

          sampled patents, or Dr. Putnam’s subsequent opinions incorporating Dr. Cooklev’s review.

       6. Finally, but not least, courts in this District and Circuit have found keyword / search term

          opinions reliable and have held that they are properly the subject of cross examination, not

          motions to strike. Similarly, a circuit court has also found no issue with an expert

          identifying relevant search terms that are within the expert’s experience. CommScope’s

          Motion provides no authority that an expert’s identification of keywords is unreliable.

           TQD asks the Court to deny CommScope’s Motion. Dr. Cooklev did nothing improper.

 The issue CommScope suggests—perhaps Dr. Cooklev should or should not have included a

 search term—is well within the understanding of a lay jury who have likely all made their own

 search-term determinations at some point. While Dr. Cooklev exercised his technical judgment in

 selecting keywords, his analysis is nothing like a complex scientific opinion, such as whether a

 particular chemical compound does or does not cause cancer. As the cases TQD identifies below

 make clear this is an issue about weight, not admissibility.

 II.       APPLICABLE LAW

           “A trial court’s decision to admit expert evidence is reviewed for abuse of discretion.”

 United States v. Barnes, 979 F.3d 283, 307 (5th Cir. 2020) (citation omitted). “As a general matter,

 district courts are afforded ‘wide latitude’ when it comes to the admissibility of expert testimony.”

 Id. “Thus, [the Fifth Circuit] will only disturb the district court’s decision to admit expert testimony

 if the decision was ‘manifestly erroneous.’” Id. “A manifest error is one that ‘is plain and

 indisputable, and that amounts to a complete disregard of the controlling law.’” Id.




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         “As a general rule, questions relating to the bases and sources of an expert’s opinion affect

 the weight to be assigned that opinion rather than its admissibility.” Puga v. RCX Sols., Inc., 922

 F.3d 285, 294 (5th Cir. 2019). “[T]he Daubert [inquiry] should not supplant trial on the merits.”

 United States v. Perry, 35 F.4th 293, 330 (5th Cir. 2022) (citation omitted). “Particularly in a jury

 trial setting, the court’s role under Rule 702 is not to weigh the expert testimony to the point of

 supplanting the jury’s fact-finding role—the court’s role is limited to ensuring that the evidence in

 dispute is at least sufficiently reliable and relevant to the issue so that it is appropriate for the jury’s

 consideration.” Id. (citation omitted). “[W]hile the district court must act as a gatekeeper to exclude

 all irrelevant and unreliable expert testimony, ‘the rejection of expert testimony is the exception

 rather than the rule.’” Id. (citation omitted). “Vigorous cross-examination, presentation of contrary

 evidence, and careful instruction on the burden of proof are the traditional and appropriate means

 of attacking shaky but admissible evidence.” Id. (quoting Daubert, 509 U.S. at 596).

         “Daubert’s reliability requirement does not set a high bar for the admissibility of expert

 testimony.” United States v. Dien Vy Phung, 127 F. App’x 594, 598 (3d Cir. 2005) (citing In re

 Paoli R.R. Yard Pcb Litig., 35 F.3d 717, 744 (3d Cir. 1994) (holding “the evidentiary requirement

 of reliability is lower than the merits standard of correctness”). “Moreover, Daubert does not

 require a district court to look at whether a proposed expert could have performed his or her

 analysis in a better manner.” Id. (citing Paoli, 35 F.3d at 744 (observing that “good grounds” for

 an opinion may exist “even if the judge thinks that a scientist’s methodology has some flaws such

 that if they had been corrected, the scientist would have reached a different result”)).

         The trial judge has the discretion “both to avoid unnecessary ‘reliability’ proceedings in

 ordinary cases where the reliability of an expert’s methods is properly taken for granted, and to

 require appropriate proceedings in the less usual or more complex cases where cause for




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  questioning the expert’s reliability arises.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152

  (1999). “[N]o one denies that an expert might draw a conclusion from a set of observations based

  on extensive and specialized experience.” Id. at 156.

  III.   ARGUMENT

         A.       CommScope Deposed Both Experts on The Relevant Portions of Their
                  Reports

         CommScope deposed both Dr. Cooklev and Dr. Putnam on these issues. See December 8,

  2022 Deposition of T. Cooklev, Exh. 03 at 141:9-154:4, 154:20-156-15; December 6, 2022

  Deposition of J. Putnam, Exh. 04 at 160:25-170:3. CommScope makes no mention of their

  testimony and makes no claim they failed to explain all of the portions of their reports that they

  were asked about. CommScope asserts a failure to explain, but both experts provide complete

  explanations in their reports and answered the questions asked during their depositions.

         B.       CommScope Raises No Specific Issue with Dr. Putnam’s Report and His
                  Reliance on Dr. Cooklev for Terms Is Appropriate Even If the Keywords Are
                  Not Otherwise Admissible

         Despite moving to strike 21 paragraphs (13 pages) of Dr. Putnam’s Rep., CommScope

  provides no specific argument on any paragraph of his report. See Motion, pp. 4-6 (providing no

  citation to Dr. Putnam’s report). It, for example, offers no explanation of why the statistical

  methods used by Dr. Putnam are unreliable or based on insufficient data, including either the 1,100

  patent set he created for Dr. Cooklev to review or his subsequent analysis of Dr. Cooklev’s

  findings. See id. As discussed above, CS moves to broadly strike Dr. Putnam’s opinions on

  everything from non-infringing alternatives to patent quality, but no explanation is provided.

         CommScope also does not dispute that his analysis is relevant or that it is proper for

  Dr. Putnam to request Dr. Cooklev’s help in either analyzing patents related to essentiality or in

  creating a list of technical terms. See id. Dr. Putnam is entitled to rely on Dr. Cooklev’s analysis



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  even if it is not separately admissible. See FED. R. EVID. 703 (“If experts in the particular field

  would reasonably rely on those kinds of facts or data in forming an opinion on the subject, they

  need not be admissible for the opinion to be admitted”). As CommScope provides no specific

  argument regarding any paragraph in Dr. Putnam’s Report, including the statistical method

  nominally at the heart of its Motion, the Motion should be denied regarding Dr. Putnam’s report.

                 1.      Dr. Putnam Uses Dr. Cooklev’s Keywords to Create Three “Buckets”
                         For Sampling, And All Buckets Were Sampled From

         CommScope’s Motion repeats the phrase “knockout,” suggesting patents were eliminated

  from consideration. TQD believes it is important to make clear that Dr. Putnam used the keywords

  to focus on the most relevant patents out of the set of 14,848 potentially-essential patents:

         To obtain a sample of the most relevant patents, I incorporated a list of keywords
         identified by Dr. Cooklev as unlikely to be found in the claims of an essential DSL
         patent (“knockout” words). I grouped all patents whose independent claims
         contained at least one knockout word together; these patents should be sampled at
         a lower rate, as they are unlikely to be essential. If the claims did not contain a
         knockout word, then I grouped the patents separately.

  Putnam Rep. ¶ 371. Dr. Putnam grouped the patents “into three ‘buckets,’ based on the likelihood

  of each group containing a DSL-essential patent. Id. ¶¶ 372-373. While CS repeats the phrase

  “knockout,” Dr. Putnam makes clear that he “drew from each bucket a random (that is,

  representative) sample, large enough in size to ensure statistically reliable results.” Id. ¶ 373

  (emphasis added). CommScope’s Motion does not cite to that paragraph of Dr. Putnam’s report.

  But all of the patent buckets were sampled, even patents with “knockout” terms, and, again,

  CommScope offers no challenge and no expert contests the reliability or statistical methods used

  by Dr. Putnam to create statistically significant samples from each bucket.

         Dr. Putnam’s “resulting sample comprised 1,100 patents and 826 patent families, implying

  an overall sample rate of 7.4%.” Id. at 374. “Dr. Cooklev analyzed this sample and determined

  whether each patent in it is essential to one or more DSL standards.” Id.


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         C.       CommScope Does Not Contest Dr. Cooklev’s Capacity to Offer His Opinion
                  That Certain Terms Are Less Likely to Be Found in Relevant SEPs

         Though CommScope argues that Dr. Cooklev did not fully explain his listing of terms, it

  does not argue he lacks the expertise or ability to offer his opinion. Dr. Cooklev is well qualified

  to offer such an opinion. He has an undergraduate and Ph.D degree in electrical engineering; he

  has been teaching electrical engineering since the early 2000s; he has served on more than 50

  graduate thesis committees; he is a named inventor on 32 U.S. patents for communication systems;

  he has co-authored over 100 peer reviewed articles; he has received awards and was inducted in

  the Purdue Inventors Hall of Fame; he has conducted approximately 20 years of research; he has

  familiarity with the relevant DSL technologies and standards; he has participated in standards

  committees related to DSL technology; and he has served as an expert in patent litigation cases

  including the 2Wire case. See August 29, 2022 Opening Expert Report of Todor Cooklev, Ph.D

  (“Cooklev Rep.”), Exh. 06, ¶¶ 3-14.

         Dr. Cooklev is highly qualified, but even if he were not “Rule 702 does not mandate that

  an expert be highly qualified in order to testify about a given issue.” Williams v. Monitowoc

  Cranes, L.L.C., 898 F.3d 607, 623 (5th Cir. 2018) (citation omitted).

         D.       Dr. Cooklev Is Qualified as An Expert to Identify Terms He Believes Are Less
                  Relevant and Disputes About Such Terms Go to Weight Not Admissibility

         It almost goes without saying, but Dr. Cooklev’s ability to identify keyword terms is well

  within the ability of a qualified expert. Courts in this District and Circuit have found that experts

  may create search terms for other experts and rely on them in their reports, and that these disputes

  are proper for cross examination—not Daubert. See Innovation Scis., LLC v. Amazon.com, Inc.,

  Case No. 4:18-cv-474, 2020 U.S. Dist. LEXIS 128957, at *9 (E.D. Tex. July 22, 2020) (denying

  motion to strike and finding cross examination is the proper vehicle to attack such evidence); see

  also In re Taxotere (Docetaxel) Prods. Liab. Litig., Case No. 16-2740, 2019 U.S. Dist. LEXIS


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  143642, at *12-13 (E.D. La. Aug. 23, 2019) (finding no issue with an expert relying on search

  terms created by another expert). At least one circuit court has considered the ability of an expert

  to create search terms, and that court found no issue with an expert identifying keywords based on

  experience. See United States v. Parkhurst, 865 F.3d 509, 516-17 (7th Cir. 2017) (finding

  detective’s testimony based on his experience was sufficient to identify keywords and noting

  “[t]raining and experience are proper foundations for expert testimony”). As another court

  explained, disputes about keyword sufficiency go to weight not admissibility. See Kleen Prods.

  LLC v. Int’l Paper, No. 10-cv-5711, 2017 U.S. Dist. LEXIS 83321, at *83-84 (N.D. Ill. May 31,

  2017) (denying motion to strike and finding that arguments related to scientific reliability of

  keywords go to weight not admissibility).

         E.       Dr. Cooklev Explains His Decisions and CommScope is Free to Cross
                  Examine Him at Trial

         Dr. Cooklev’s report describes, in 128 pages, his process of working with Dr. Putnam,

  including collaborating on terms to aide Dr. Putnam’s sampling, personally reviewing 1,100

  patents provided to him by Dr. Putnam, and providing the results of his analysis to Dr. Putnam.

  See Cooklev Rep., ¶¶ 1332-1364. Dr. Cooklev explains that he:

         worked closely with Mr. Putnam to further narrow the list of roughly 15,000 patents
         to a manageable, yet statistically significant sample set of potentially-essential
         patents that I would then review and make a determination as to whether those
         patents are likely essential for one or more DSL standards.

  Id. ¶ 1334. CommScope only provides argument on Dr. Cooklev’s creation of a list of 360 terms.

  See Motion pp. 4-5 (addressing arguments only to Dr. Cooklev’s terms). Contrary to

  CommScope’s claim, Dr. Cooklev explains, in his report, that the keywords were “terms [he]

  deemed would make it less likely a patent claim would be DSL standard essential”:




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  Cooklev Rep., ¶ 1340 (excerpted in part). Prior to that paragraph, Dr. Cooklev explains that he

  and Dr. Putnam were working on DWPI classifications, making his reliance on those descriptions

  expected and reasonable. Id. ¶¶ 1335-1339. Given the fact that he lists the terms he determined

  (and that all of the steps used are described in both reports), Dr. Cooklev’s explanation of terms is

  sufficiently reliable to present to the jury. For example, Dr. Cooklev is not providing an opinion

  on undisclosed terms. He expressly lists all of the terms he provided, giving CommScope the

  ability to contest his work, as it does rhetorically in its Motion. In this electronic age, developing

  terms related to relevancy (e.g., for work or to Google) is a widely conventional methodology.

         F.       CommScope Provides No Argument Regarding the Other Paragraphs in Dr.
                  Cooklev’s Report That It Moves to Strike

         CommScope moves to exclude three paragraphs—¶¶ 1340-42—from Dr. Cooklev’s report.

  Motion, p. 7. But CommScope only provides specific argument regarding one paragraph: ¶ 1340.

  The three paragraphs come from the middle of Dr. Cooklev’s 128-page (¶¶ 1332-1364) description

  of his work with Dr. Putnam. CommScope’s argument for striking the other two paragraphs is

  unknown: no argument for either paragraph is provided. They paragraphs state his factual

  understanding that Dr. Putnam “used the information [he] provided … to determine a statistically



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  significant sample set of potentially DSL standard essential patents for [his] analysis” (¶ 1341);

  and that he “received a list of 1,100 potentially standards essential DSL patents (listed starting at

  TQD_TX00384190) from Mr. Putnam in order for [him] to perform [his] independent claim

  analysis of these patents” (¶ 1342). These are facts he can testify to.

         CommScope’s attempt to strike these facts is all the more perplexing because CommScope

  does not move to strike Dr. Cooklev’s subsequent opinion analysis of the 1,100 patents he received

  from Dr. Putnam or his understanding that Dr. Putnam used the results of his analysis.

  Dr. Cooklev’s ability to testify on these paragraphs is certainly within his personal knowledge.

         G.       CommScope’s Experts Do Not Offer the Opinion Dr. Cooklev’s Keywords
                  Are Unreliable or That Dr. Putnam’s Use of Those Keywords is Unreliable

         CommScope’s Motion claims Dr. Cooklev’s and Dr. Putnam’s work on the paragraphs at

  issue is unreliable, but none of its experts offer that opinion. CommScope has 10 experts, but only

  Dr. Ransom and Dr. Becker offer opinions on the paragraphs at issue. Neither expert raises any

  issue with the keywords that Dr. Cooklev created to help filter patents or any issue with the

  statistical methodology used by Dr. Putnam.

         CommScope’s damages expert—Dr. Becker—offers no specific criticism of Dr. Cooklev’s

  keywords or the statistical methods Dr. Putnam uses to apply them.1 See Becker Rep. ¶¶ 323, 343

  (discussing sampling approach). In ¶ 323, Dr. Becker provides a one-paragraph summary of

  Dr. Putnam’s analysis. See id. ¶ 323. In his other paragraph addressing the sampling performed

  in the report, Dr. Becker just notes that “Dr. Ransom provides comments”:

         As a critical step in his damages model, Dr. Putnam uses an assumption regarding
         the “expected number of actually‐essential DSL patent families.” For this
         assumption, Dr. Putnam relies in part on his own analysis and in part on Dr.
         Cooklev’s essentiality determination with respect to certain “sampled patents” that

  1
    To be clear, Dr. Becker offers other criticisms of Dr. Putnam’s report (e.g., that Dr. Becker
  believes he should have considered other agreements), but he does not offer specific criticism on
  the sampling method or its application of statistics.


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         Dr. Putnam provided to Dr. Cooklev. Dr. Ransom provides comments on the
         methodology employed by Dr. Cooklev in his search for DSL SEPs.

  Becker Rep. ¶ 343 (footnotes contained in the citation are omitted).

         Dr. Ransom offers about one page on “Dr. Cooklev’s Analysis of Standard Essential

  Patents.” See Ransom Rep., ¶¶ 401-405. However, Dr. Ransom offers no criticism on the keyword

  issue raised by CommScope’s counsel. Instead he asserts, without support, that Dr. Cooklev’s

  analysis was “flawed in that he focused only on patents specifically tied to DSL.” In other words,

  he asserts the analysis should have cast a wider initial net, and he does not claim the existing

  analysis is unreliable. But he offers no analysis of his own on essential patent families:

         Q. Okay. Did you go and conduct an analysis about -- of how many DSL standard
         essential patents there are and how many would be attributable to Aware or the
         patents in this case?

         A. No. I did not do that exercise.

  December 7, 2022 Deposition of Dr. Neil Ransom, Exh. 05, 117:25-118:4. That no CommScope

  expert offers the argument made in the Motion cuts against its credibility.

         H.       CommScope’s Legal Argument is Unclear

                 1.      CommScope Does Not Appear to Address the Proper Legal Standard

         CommScope’s legal argument is unclear, but the two reasons it provides both appear to

  claim that Dr. Cooklev omits the basis for his opinion. See Motion pp. 4-5 (stating for the “first”

  ground that “Dr. Cooklev does not explain how he generated the list of knockout terms” and stating

  for the “second” ground that “Dr. Cooklev does not provide any basis for his opinion that the terms

  are unlikely to appear in an essential patent”). This challenge is normally made under Rule 37 as

  a failure of the expert to comply with the disclosure requirements of Rule 26(a), but CommScope

  does not raise that ground. See Uniloc USA, Inc. v. Samsung Elecs. Am., Inc., No. 2:17-CV-00651-

  JRG, 2019 U.S. Dist. LEXIS 65662, at *7-8 (E.D. Tex. Apr. 17, 2019). In such circumstances,



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  the Court has broad discretion and considers the following factors: “(1) [The untimely party’s]

  explanation for its failure to disclose the evidence, (2) the importance of the evidence, (3) the

  potential prejudice to [the objecting party] in allowing the evidence, and (4) the availability of a

  continuance.” Id. (quoting CQ, Inc. v. TXU Min. Co., L.P., 565 F.3d 268, 280 (5th Cir. 2009)).

         To the extent the Court applies this framework, TQD addresses these factors. First,

  CommScope is not correct. Dr. Cooklev adequately explains the basis for his opinion as to how he

  chose those terms, which he states in his report. CommScope disagrees, but CommScope is,

  respectfully, trying to manufacture a ground to strike Dr. Cooklev’s terms as a way to strike

  opinions offered by Dr. Putnam. Second, the evidence CommScope seeks to strike is of critical

  importance to TQD’s case as the paragraphs at issue are central to Dr. Putnam’s damages report

  and the paragraphs in Dr. Cooklev’s report provide critical evidence to that report. CommScope

  is essentially seeking to strike TQD’s damages case. Third, CommScope articulates no real

  prejudice in allowing the evidence. Fourth, should the Court disagree, Dr. Cooklev could provide

  a one page (or less) supplement, with the Court’s guidance, to make his basis even more explicit.

  This would likely take less than 3 days and would be not necessitate a continuance.

                 2.      Alternatively, CommScope Understands Dr. Cooklev’s Opinion But
                         Simply Disagrees

         CommScope first argues that Dr. Cooklev “does not provide any basis for his opinion,” but

  CommScope later argues that the “words rest[] entirely on his own subjective view as to keywords

  that might be unlikely to appear in the claims of a DSL standard-essential patent.” Motion, pp. 5-6.

  Though TQD disagrees with CommScope’s argument, it suggests, as one would expect from the

  fulsome disclosure, that CommScope actually fully understands Dr. Cooklev’s report and has all

  the basis it needs but CommScope’s attorneys simply dislike it or disagree with it. Respectfully,

  Dr. Cooklev’s view is his “expert opinion” and, at some level, expert opinion is always subjective



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  to the expert. That does not render such opinions inadmissible as experts often disagree and even

  “conflicting expert testimony alone is insufficient to show that an expert’s opinion is

  inadmissible.” Wilbourn v. Brg Sports, Case No. 4:19-cv-00263-P, 2021 U.S. Dist. LEXIS 231311,

  at *15 (N.D. Tex. Oct. 7, 2021) (citation omitted).

         I.       The Cases CommScope Cites are Distinguishable

         CommScope provides no legal authority that the Dr. Cooklev or Dr. Putnam have offered

  any improper opinion. As discussed above, their opinions are legally proper. TQD has reviewed

  the two cases cited by CommScope in its argument section and neither is instructive.

         The Hathaway v. Bazany, 507 F.3d 312 (5th Cir. 2007) case that CommScope cites is

  distinguishable and involved “questions of excessive force under the Fourth Amendment involving

  the shooting death of a teenage driver by a policeman who was struck by the car as it sped away

  after a traffic stop.” Id. at 315. The issue included a decision by the lower court to exclude

  testimony, at the summary-judgment stage, by a Mr. Harry Hathaway a former police officer and

  the father of the teenager who was shot. See id. at 315-16.               As the Circuit explained,

  Mr. Hathaway’s “primary argument, that Bazany must have been behind the car when he fired his

  shot, is not based on any discernable training in or use of a scientific methodology suited to the

  reconstruction of the location of a shooter based on the trajectory of the bullet or location of a shell

  casing. Instead, Hathaway relies on a host of unsupported conjectures that falls far short of a

  methodology.” Id. at 318. The Hathaway case is readily distinguishable. Hathaway involved a

  non-expert, with no evidence of training, recreating an entire series of events for a shooting. See

  id. at 318-19. This Motion concerns an expert providing a list of terms under his technical

  judgment to another expert as part of multi-step, uncontested, statistical analysis.

         The Genband US LLC v. Metaswitch Networks Corp., No. 2:14-cv-33-JRG-RSP, 2016

  U.S. Dist. LEXIS 196292 (E.D. Tex. Jan. 7, 2016) is also unlike the case at hand. Genband


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  excluded doctrine of equivalents (“DoE”) evidence and denied on all other grounds. See id. at

  *16. The court noted the expert’s testimony on the DoE issue consisted of two sentences and

  “Genband’s Response and Sur-reply make no attempt to defend [the expert]’s doctrine of

  equivalents opinions.” Id. at *6. Here, the opinions that CommScope moves to strike are far more

  than two conclusory sentences and each form part of multi-page analyses by two different experts.

  IV.    CONCLUSION

         For the reasons discussed above, TQD asks the Court to deny CommScope’s Motion.

  CommScope provides argument on one paragraph of Dr. Cooklev’s report (¶ 1340), but, as

  discussed above, Dr. Cooklev’s opinion is well within his ability as an expert. To the extent CS

  has any issue, those arguments go to weight not admissibility and are the proper subject for cross

  examination. CS, really, seeks to strike Dr. Putnam’s damages opinion, but it provides no

  argument on any paragarph of Dr. Putnam’s report that it seeks to strike. Dr. Putnam’s sampling

  methodology is disclosed such that CS can test it, and no expert contests it or even criticizes its

  methodology. And CS seeks to strike parts of Dr. Putnam’s report that are well beyond the

  uncontested sampling, including Dr. Putnam’s reliance of paragraphs of Dr. Cooklev’s report that

  it does not move to strike. This Motion is, respectfully, a second motion to strike Dr. Putnam’s

  report and TQD does not understand why it was filed. Compare (Dkt. No. 346 at p. 14 (moving to

  strike ¶¶ 291-400 of Putnam’s Rep.)) to Motion at p. 6 (also moving to strike ¶¶ 371-398).

  CommScope has not shown any failure under Rule 702 or Daubert for either expert.




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  Dated: January 6, 2023
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                                 CERTIFICATE OF SERVICE

         The undersigned certifies that the foregoing document and all attachments thereto are being

  filed electronically in compliance with Local Rule CV-5(a). As such, this document is being

  served this January 6, 2023 on all counsel of record, each of whom is deemed to have consented

  to electronic service. L.R. CV-5(a)(3)(A).

                                                      /s/Rudolph Fink IV______________
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